           3:19-bk-70153 Doc#: 13 Filed: 02/13/19 Entered: 02/13/19 23:41:59 Page 1 of 2
                                               United States Bankruptcy Court
                                               Western District of Arkansas
In re:                                                                                                     Case No. 19-70153-btb
Scott Melvin Hicks                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0861-3                  User: angie                        Page 1 of 1                          Date Rcvd: Feb 11, 2019
                                      Form ID: onoppobj                  Total Noticed: 8


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 13, 2019.
db             +Scott Melvin Hicks,    744 MC 7016,    Flippin, AR 72634-9428
4985738        +Desiree Hicks,    c/o John Crain, Attorney,    PO Box 351,    Mountain Home, AR 72654-0351
4985737        +Desiree Hicks,    588 Western Hills Loop,    Mountain Home, AR 72653-6516
4985739        +Desiree S. Hicks,    c/o John Crain,    PO Box 351,   Mountain Home, AR 72654-0351
4985740        +First Federal Bank,    P.O. Box 550,    Harrison, AR 72602-0550
4985741         J. Douglas Gramling,    Gramling/Estes Law Firm,    PO Drawer 3883,    Fayetteville, AR 72702-3883
4985742        +Mr. Cooper,    Attn: Bankruptcy,    8950 Cypress Waters Blvd,    Coppell, TX 75019-4620

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
4985743        +E-mail/Text: bankruptcy@pro-credit.com Feb 12 2019 00:40:09     Professional Credit Mgmt Inc.,
                 PO Box 4037,   Jonesboro, AR 72403-4037
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 13, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 11, 2019 at the address(es) listed below:
              Jill R. Jacoway    jacowaylaw@sbcglobal.net, jacoway@ecf.epiqsystems.com;AR19@ecfcbis.com
              John A. Crain   on behalf of Creditor Desiree S Hicks jebreb@hotmail.com, jc_arklaw@yahoo.com
              Paul Allen Bayless    on behalf of Debtor Scott Melvin Hicks cooplaw@suddenlinkmail.com
              U.S. Trustee (ust)    USTPRegion13.LR.ECF@usdoj.gov,
               Shari.Sherman@usdoj.gov;Cecilia.A.Boyle@usdoj.gov;jackie.a.evatt@usdoj.gov;jill.p.eschbacher@usdo
               j.gov
                                                                                             TOTAL: 4
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Form onoppobj
                                    UNITED STATES BANKRUPTCY COURT
                                          Western District of Arkansas


In Re:      Scott Melvin Hicks                                                 Case No.: 3:19−bk−70153
            Debtor                                                             Chapter: 7
                                                                               Judge: Ben T Barry
Desiree S Hicks                                                                MOVANT
vs.
Scott Melvin Hicks
and Jill R. Jacoway, Trustee                                                   RESPONDENTS


                       ORDER ON AND NOTICE OF OPPORTUNITY TO OBJECT TO
                     MOTION FOR RELIEF FROM STAY AND/OR FOR ABANDONMENT


YOU ARE HEREBY NOTIFIED that a Motion for Relief from Stay pursuant to 11 U.S.C. §362(d) and/or for
Abandonment pursuant to 11 U.S.C. §554 was filed by Movant on 2/6/19.

11 − Amended Motion for Relief from Stay . RE: related document(s) 9 Filed by John A. Crain on behalf of Desiree
S Hicks (Crain, John)

YOU ARE FURTHER NOTIFIED THAT you have twenty−one (21) days from the date of this Notice to file a
written response. If a response is filed, a hearing will be held as follows:
3/6/19 at 09:00 AM at:
U.S. Federal Building, 35 E. Mountain St., 4th Floor, Room 416, Fayetteville, AR 72701
FAILURE TO FILE A RESPONSE TO THIS MOTION FOR RELIEF FROM STAY AND/OR FOR
ABANDONMENT SHALL BE DEEMED A STATEMENT OF NO OPPOSITION TO THE MOTION AND
A WAIVER OF THE RIGHT TO A HEARING UNDER 11 U.S.C. §362(d) AND §554, AND THE COURT
MAY ENTER, WITHOUT FURTHER NOTICE, AN ORDER GRANTING THE MOTION.

If no objection or response is filed, counsel for the moving party shall submit the precedent granting the motion
forthwith.
It is hereby ORDERED that, if and to the extent the automatic stay is in force, it shall remain in force pursuant to 11
U.S.C. §362(e) pending disposition of the Motion for Relief from Stay.
IT IS SO ORDERED

Dated: 2/11/19



                                             UNITED STATES BANKRUPTCY JUDGE
